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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

__________________________________________
THOR KORNELIUSSEN,                         )
      and                                 )
DORIS KORNELIUSSEN, H/W,                   )
      and                                 )
THOR E. KORNELIUSSEN,                      )                 Civil Action No.
                                           )
                  Plaintiffs,              )
      vs.                                 )
                                           )
ACADEMY COLLECTION SERVICE,                )
INC.,                                     )
                                           )
                  Defendant.               )
__________________________________________)

                                    COMPLAINT
                        UNLAWFUL DEBT COLLECTION PRACTICES

                                     I. INTRODUCTION

       1.      This is an action for damages brought by individual consumers for Defendant’s

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereafter the

"FDCPA"). This law prohibits debt collectors from engaging in abusive, deceptive, and unfair

collection practices.

                              II. JURISDICTION AND VENUE

       2.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,

1337, and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.

       3.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b).



                                         III. PARTIES

       4.      Plaintiffs Thor Korneliussen (hereafter “Plaintiff TK”) and Doris Korneliussen
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(hereafter “Plaintiff DK”), husband and wife, are adult individuals residing at 7 Overlook Court,

Rocky Point, NY 11778.

       5.      Plaintiff Thor E. Korneliussen (hereafter “Plaintiff TEK”) is an adult individual

residing at 54 King Street, Kings Park, NY 11754.

       6.      Defendant Academy Collection Service, Inc. is a business entity engaged in the

business of collecting debts in this Commonwealth with its principal place of business located at

10965 Decatur Road, Philadelphia, PA 19154.         The principal purpose of Defendant is the

collection of debts using the mails and telephone, and Defendant regularly attempts to collect

debts alleged to be due another.

                               IV. FACTUAL ALLEGATIONS

       6.      At all pertinent times hereto, Defendant was hired by Citibank to collect a debt

relating to consumer credit card purchases that were allegedly originally owed to Citibank by

Plaintiff TEK. (hereafter the “debt”).

       7.      The alleged debt at issue arose out of a transaction which was primarily for

personal, family or household purposes.

       8.      At all times pertinent hereto, the debt was owed only by Plaintiff TEK, who did

not live with Plaintiffs TK and DK.

       9.      In August 2006, Defendant contacted Plaintiffs TK and DK, on numerous

occasions, in an attempt to coerce payment of the debt with the intent to annoy, abuse, and harass

such persons contacted. During each conversation, Defendant disclosed Plaintiff TEK’s debt.

During one conversation, Plaintiff TK explained the debt belonged to Plaintiff TEK, and that he

did not live with Plaintiffs TK and DK. Additionally, Plaintiff TK requested that Defendant no

longer contact Plaintiffs TK and DK because such calls were inconvenient to them. In response,
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Defendant promised to cease the phone calls to the residence of Plaintiffs TK and DK.

       11.    Notwithstanding the above, on or about September 20, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       12.    Notwithstanding the above, on or about September 21, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       13.    Notwithstanding the above, on or about September 22, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       14.    Notwithstanding the above, on or about September 26, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted, including but not limited to once more that day.

       15.    Notwithstanding the above, on or about September 27, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       16.    Notwithstanding the above, on or about September 28, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       17.    Notwithstanding the above, on or about September 30, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       18.    Notwithstanding the above, on or about October 2, 2006, Defendant contacted
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Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       19.    Notwithstanding the above, on or about October 3, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       20.    Notwithstanding the above, on or about October 4, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       21.    Notwithstanding the above, on or about October 5, 2006, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       22.    Notwithstanding the above, on or about October 10, 2006, for the thirteenth time

since it promised to cease and desist from contacting Plaintiffs TK and DK, Defendant contacted

Plaintiffs TK and DK in an attempt to coerce payment of the debt with the intent to annoy,

abuse, and harass such persons contacted.

       22.    The Defendant acted in a false, deceptive, misleading and unfair manner when

they, without permission from the Plaintiff TEK, communicated with persons other than Plaintiff

TEK with respect to the debt and made such communications on multiple occasions.

       23.    The Defendant acted in a false, deceptive, misleading and unfair manner by

contacting Plaintiffs TK and DK, on multiple occasions, at an unusual time or place or a time or

place known or which should be known to be inconvenient to the Plaintiffs TK and DK.

       24.    Defendant knew or should have known that its actions violated the FDCPA.

Additionally, Defendant could have taken the steps necessary to bring its actions within
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compliance with the FDCPA, but neglected to do so and failed to adequately review its actions

to insure compliance with said laws.

        25.         At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees, who were acting within the scope and course of their employment,

and under the direct supervision and control of the Defendant herein.

        26.     At all times pertinent hereto, the conduct of Defendant, as well as that of its

agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent and in

wanton disregard for federal and state law and the rights of the Plaintiff herein.

        27.     As a result of Defendant’s conduct, Plaintiffs have sustained actual damages

including, but not limited to, injury to Plaintiffs’ reputation, invasion of privacy, out-of-pocket

expenses, damage to Plaintiffs’ credit, extreme physical, emotional and mental pain and anguish

and pecuniary loss, and Plaintiffs will continue to suffer same for an indefinite time in the future,

all to Plaintiffs’ great detriment and loss.

              V. FIRST CLAIM FOR RELIEF-VIOLATION OF THE FDCPA

        28.     Plaintiffs incorporate the foregoing paragraphs as though the same were set forth

at length herein.

        29.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) of the

FDCPA.

        30.     Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3) of the FDCPA.

        31.     The above contacts by Defendant are “communications” relating to a “debt” as

defined by 15 U.S.C. § 1692a(2) and 1692a(5) of the FDCPA.




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       32.     Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to, violations of 15 U.S.C. §§ 1692b(2), 1692b(3), 1692c(a)(1), 1692c(b), 1692d,

1692d(5), 1692e, 1692e(10) and 1692f, as evidenced by the following conduct:

               (a)     Communicating with persons other than the Plaintiff TEK that Plaintiff

                       TEK owes a debt;

               (b)     Communicating with persons other than the Plaintiff TEK on more than

                       one occasion;

               (c)     Communicating with the Plaintiffs TK and DK at an unusual time or place

                       or a time or place known or which should be known to be inconvenient to

                       the Plaintiffs TK and DK;

               (d)     Communicating, in connection with the collection of a debt with persons

                       other than the Plaintiff TEK;

               (e)     Engaging in conduct the natural consequence of which is to harass,

                       oppress, or abuse any person in connection with the collection of a debt;

               (f)     Causing a telephone to ring or engaging any person in telephone

                       conversation repeatedly or continuously with intent to annoy, abuse, or

                       harass any person at the called number; and

               (g)     Otherwise    using    false,    deceptive,   misleading   and   unfair      or

                       unconscionable means to collect or attempt to collect a debt from the

                       Plaintiff.

       33.     Defendant’s acts as described above were done with malicious, intentional,

willful, reckless, wanton and negligent disregard for Plaintiffs’ rights under the law and with the

purpose of coercing Plaintiffs to pay the debt.
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       34.     As a result of the above violations of the FDCPA, Defendant is liable to Plaintiffs

in the sum of Plaintiffs’ statutory damages, actual damages and attorney's fees and costs.

        WHEREFORE, Plaintiffs respectfully pray that relief be granted as follows:

               (a)     That judgment be entered against Defendant for actual damages pursuant

                       to 15 U.S.C. § 1692k(a)(1);

               (b)     That judgment be entered against Defendant for statutory damages

                       pursuant to 15 U.S.C. § 1692k(a)(2)(A);

               (c)     That the Court award costs and reasonable attorney's fees pursuant to 15

                       U.S.C. §1692k(a)(3); and

               (d)     That the Court grant such other and further relief as may be just and

                       proper.

        V.      VI.     SECOND CLAIM FOR RELIEF- INVASION OF PRIVACY
                            (Plaintiffs TK and DK v. Defendant)

       35.     Plaintiffs TK and DK incorporate the foregoing paragraphs as though the same

were set forth at length herein.

       36.     Defendant continuously and repeatedly contacting Plaintiffs TK and DK at

Plaintiffs TK and DK’s place of residence constitutes an invasion of privacy.

       37.     As a result of Defendant’s above mentioned conduct, Plaintiffs TK and DK

sustained and continue to sustain the losses and damages as set forth above.

       WHEREFORE, Plaintiffs TK and DK claim compensatory, punitive and all other forms

of cognizable damages against Defendant and judgment in their favor, plus lawful interest

thereon, attorney’s fees and costs of suit.

                                   VII.   JURY TRIAL DEMAND

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      38.   Plaintiffs demand trial by jury on all issues so triable.

                                           RESPECTFULLY SUBMITTED,

                                           FRANCIS & MAILMAN, P.C.


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DATE: March 21, 2007




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